  Case: 4:20-cv-00588-RLW Doc. #: 5 Filed: 04/30/20 Page: 1 of 1 PageID #: 58



                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

LAUREN HAWSE, et al.,                               )
                                                    )
              Plaintiffs,                           )
                                                    )     Case No. 4:20cv588 RLW
      vs.                                           )
                                                    )
SAM PAGE, M.D. et al.,                              )
                                                    )
              Defendants.                           )

                                           ORDER

       IT IS HEREBY ORDERED that Plaintiffs' Motion for Expedited Hearing and Motion

for Temporary Restraining Order (ECF No. 2) is GRANTED, in part. The hearing on Plaintiffs'

Motion for Temporary Restraining Order is set for Thursday May 7, 2020 at 10:30 a.m. The

hearing will be held via telephone. The Court will email the parties with the call-in information

for the hearing.

       IT IS FURTHER ORDERED that Defendants shall file any response to Plaintiffs'

Motion for Temporary Restraining Order (ECF No. 2) no later than Monday, May 4, 2020 at

12:00 p.m. Both parties shall file any proposed order no later than May 4, 2020.

       IT IS FURTHER ORDERED that, if the public or media wish to listen to the telephone

conference,        they   may   contact    Katie        Spurgeon,   Operations     Manager,    at

Katherine Spurgeon@moed.uscourts.gov with the date, time, and hearing information.

        IT IS FINALLY ORDERED that Plaintiffs' Notice of Hearing (ECF No. 4) is

STRICKEN from the record as this Order supersedes that Notice.

Dated this 30th day of April, 2020.


                                                RONNIE L. WHITE
                                                UNITED ST ATES DISTRICT JUDGE
